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                                 IN THE UNITED STATES DISTRICT COURT
                                FOR THE WESTERN DISTRICT OF TENNESSEE
                                          EASTERN DIVISION

UNITED STATES OF AMERICA,                             )
                                                      )
      Plaintiff,                                      )
                                                      )
vs.                                                   )           Case No. 1:17‐cr‐10022‐STA‐2
                                                      )
ADDIE COLE,                                           )
                                                      )
      Defendant.                                      )


                                ORDER CONTINUING CHANGE OF PLEA DATE
                                       AND NOTICE OF RESETTING

         The Change of Plea date in this matter is currently set for August 3rd, 2018 before Chief

Judge S. Thomas Anderson. Upon motion of Defense counsel, the Change of Plea date in the above

styled matter is hereby reset to July 24, 2018 at 11:00AM before Chief Judge S. Thomas Anderson;

Courtroom #1, 4th Floor, United States Courthouse, Jackson, Tennessee.

         Enter this the 9th day of July, 2018.



                                                          s/S. Thomas Anderson
                                                          CHIEF UNITED STATES DISTRICT COURT JUDGE
